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       UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO


Tyler Baker, on behalf of himself and others
similarly situated,                                Case No. 1:20-cv-00175-REB
                          Plaintiﬀ,                Class Action Complaint
vs.
                                                         Violations of the Telephone
Plant Therapy, LLC,                                    Consumer Protection Act of 1991,
                          Defendant.                           47 U.S.C. § 227

                                                   Demand for Jury Trial




                                 NATURE OF THIS ACTION

          1.     Plaintiﬀ Tyler Baker (“Baker” or “Plaintiﬀ”), individually and on behalf of

the proposed Class deﬁned below, brings this class action lawsuit against Defendant Plant

Therapy LLC (“Plant Therapy” or “Defendant”) to enforce the consumer privacy provisions

aﬀorded by the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (the “TCPA”),

a federal law designed to curtail abusive telemarketing practices precisely like those described

herein.




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        2.       As detailed below, Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii) and 47

C.F.R. § 64.1200(a)(2) by using an automatic telephone dialing system (“ATDS”) to

bombard consumers’ mobile phones with non-emergency advertising and marketing text

messages without prior express written consent.

        3.       Plaintiﬀ alleges as follows upon personal knowledge as to himself and his own

experiences and, as to all other matters, upon information and belief including due

investigation conducted by his attorneys.

                                JURISDICTION AND VENUE

        4.       This Court has federal question subject matter jurisdiction over this class

action lawsuit pursuant to 28 U.S.C. § 1331 as Plaintiﬀ alleges violations of a federal statute,

the TCPA.

        5.       This Court has personal jurisdiction over Plant Therapy because, during the

relevant time period, Plant Therapy’s principal place of business was in Twin Falls, Idaho.

Plant Therapy’s nationwide marketing campaign, which caused harm to purported class

members across the country, emanated from Twin Falls, Idaho. As such, Plant Therapy has

purposefully availed itself of the laws and markets of the State of Idaho and this District.

        6.       Venue is proper in the United States District Court for the District of Idaho

pursuant to 28 U.S.C. § 1391(b) and (c) because Plant Therapy’s principal place of business

is in Twin Falls, Idaho. As such, Plant Therapy resides in the District of Idaho.

                                             PARTIES

        7.       Plaintiﬀ is an individual who, at all relevant times, resided in Underhill,

Vermont.

        8.       Defendant is a limited liability company organized under the laws of

Delaware, with its principal place of business in Twin Falls, Idaho.




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        9.       According to its website (https://www.planttherapy.com/) Plant Therapy is

a retailer of “essential oils” both online and at brick and mortar retail stores located in Idaho.

        10.      Plant Therapy also sells CBD products. CBD, which stands for cannabidiol,

is the second most prevalent of the active ingredients of cannabis (marijuana). CBD is

derived directly from the hemp plant, which is a variant of the marijuana plant. Although

CBD is a component of marijuana (one of hundreds), it does not cause a “high” by itself. See

Cannaboidil (CBD) What we know and what we don’t (April 15, 2020), Dr. Peter Grinspoon,

M.D., Harvard Medical Blog (available at https://www.health.harvard.edu/blog/cannabidiol

-cbd-what-we-know-and-what-we-dont-2018082414476) (last visited July 16, 2020).

        11.      Plant Therapy LLC is, and at all times mentioned herein was a “person,” as

deﬁned by 47 U.S.C. § 153(39).

                                    TCPA BACKGROUND

        12.      In 1991, Congress enacted the TCPA to regulate the explosive growth of the

telemarketing industry.

        13.      The TCPA was designed to prevent calls and text messages like the one

described within this complaint, and to protect the privacy of citizens like Plaintiﬀ.

“Voluminous consumer complaints about abuses of telephone technology – for example,

computerized calls dispatched to private homes – prompted Congress to pass the TCPA.”

Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).

        14.      In enacting the TCPA, Congress intended to give consumers a choice as to

how creditors and telemarketers may call them, and made speciﬁc ﬁndings that

“[t]echnologies that might allow consumers to avoid receiving such calls are not universally

available, are costly, are unlikely to be enforced, or place an inordinate burden on the

consumer.” TCPA, Pub.L. No. 102-243, § 11. Toward this end, Congress found that:

                 Banning such automated or prerecorded telephone calls to the
                 home, except when the receiving party consents to receiving


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                 the call or when such calls are necessary in an emergency
                 situation aﬀecting the health and safety of the consumer, is the
                 only eﬀective means of protecting telephone consumers from
                 this nuisance and privacy invasion.

Id. at § 12; see also Martin v. Leading Edge Recovery Solutions, LLC, 2012 WL 3292838, at *4

(N.D. Ill. Aug. 10, 2012) (citing Congressional ﬁnding on TCPA’s purpose).

        15.      Congress also speciﬁcally found that “the evidence presented to the Congress

indicates that automated or prerecorded calls are a nuisance and an invasion of privacy,

regardless of the type of call […].” Id. at §§ 12-13; see also Mims, 132 S. Ct. at 744.

        16.      As Judge Easterbrook of the Seventh Circuit explained in a TCPA case

regarding calls to a non-debtor similar to this one:

                 The Telephone Consumer Protection Act […] is well known
                 for its provisions limiting junk-fax transmissions. A less
                 litigated part of the Act curtails the use of automated dialers
                 and prerecorded messages to cell phones, whose subscribers
                 often are billed by the minute as soon as the call is answered –
                 and routing a call to voicemail counts as answering the call. An
                 automated call to a landline phone can be an annoyance; an
                 automated call to a cell phone adds expense to annoyance.

Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637, 638 (7th Cir. 2012).

        17.      The TCPA makes it “unlawful for any person within the United States . . .

to make any call (other than a call made for emergency purposes or made with the prior
express consent of the called party) using any automatic telephone dialing system or an

artiﬁcial or prerecorded voice . . . to any telephone number assigned to a paging service,

cellular telephone service, specialized mobile radio service, or other radio common carrier

service, or any service for which the called party is charged for the call . . . .” 47 U.S.C. §

227(b)(1)(A)(iii).

        18.      Text messages are calls and are subject to the TCPA. See, e.g., Campbell-

Ewald Co. v. Gomez, 136 S. Ct. 663, 666 (2016); Satterfield v. Simon & Schuster, Inc., 569 F.3d

946, 954 (9th Cir. 2009).



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        19.      47 C.F.R. § 64.1200(a)(2) additionally states, with respect to advertisement

and telemarketing calls—of which Defendant’s text to Plaintiﬀ is—that “[n]o person or entity

may . . . [i]nitiate or cause to be initiated, any telephone call that includes or introduces an

advertisement or constitutes telemarketing, using an automatic telephone dialing system or

an artiﬁcial or prerecorded voice, to any of the lines or telephone numbers described in

paragraphs (a)(1)(i) through (iii) of this section, other than a call made with the prior express

written consent of the called party . . . .”

        20.      47 C.F.R. § 64.1200(f)(8) deﬁnes “prior express written consent” as “an

agreement, in writing, bearing the signature of the person called that clearly authorizes the

seller to deliver or cause to be delivered to the person called advertisements or telemarketing

messages using an automatic telephone dialing system or an artiﬁcial or prerecorded voice,

and the telephone number to which the signatory authorizes such advertisements or

telemarketing messages to be delivered.”

        21.      To state a claim for a violation of the TCPA, a plaintiﬀ must only show that

he or she received a call made using an ATDS or featuring a prerecorded voice; consent is

an aﬃrmative defense to liability under the TCPA. See Meyer v. Portfolio Recovery Assocs.,

LLC, 707 F.3d 1036, 1042 (9th Cir. 2012) (ﬁnding Defendant “did not show a single instance

where express consent was given before the call was placed.”)

        22.      Further, the Federal Communications Commission has issued rulings and

clariﬁed that for marketing telephone calls and texts, a company must obtain a clear,

unambiguous, and conspicuous written disclosure. See 2012 FCC Order, 27 FCC Rcd. at

1839. (“[R]equiring prior written consent will better protect consumer privacy because such

consent requires conspicuous action by the consumer — providing permission in writing —

to authorize autodialed or prerecorded telemarketing calls....”).




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        23.      The TCPA provides for damages in the amount of $500 for each negligent

violation and $1,500 for each knowing violation. See 47 U.S.C. § 227(b)(3).

                                  FACTUAL ALLEGATIONS

        24.      Plaintiﬀ is, and has been at all times relevant to this action, the regular and

sole user of his cellular telephone number (802) 703-XXXX.

        25.      On November 4, 2004, Plaintiﬀ registered his cellular number with the

National Do Not Call Registry.

        26.      On or about May 16, 2020, at 8:42 pm, Plant Therapy sent an automated

unsolicited marketing text message to Plaintiﬀ Baker’s cellular telephone number from the

shortcode number 46941.

        27.      On or about May 25, 2020, at 12:00 pm, Plant Therapy sent a second

automated text message to Plaintiﬀ Baker’s cellular telephone number from the same

shortcode number 46941.

        28.      A true and correct copy of the May 16, 2020 text message and the May 25,

2020 text message sent by Defendant is reproduced below:

        29.      The     link    embedded        in   the   May    25,   2020   text   message

(http://ltrk.co/s/rdfgnfvns3frm)        redirects     recipients   to    Defendant’s    website

https://www.planttherapy.com), which sells and promotes products oﬀered by Defendant.

        30.      Plaintiﬀ did not give Defendant prior express written consent to send text

messages to his cellular telephone numbers by using an automatic telephone dialing system.




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31.     Plaintiﬀ and Defendant do not have an established business relationship.




        32.      The text messages Defendant sent to Plaintiﬀ consisted of pre-written

templates of impersonal text and were identical to text messages Defendant sent to other

consumers.

        33.      Upon information and good-faith belief, the language in the messages were

automatically generated and inputted into pre-written text templates without any actual

human intervention in the drafting or sending of the messages; the same exact messages were

sent to thousands of other consumers.

        34.      The telephone system Defendant used to send the messages constitutes an

ATDS as deﬁned by 47 U.S.C. § 227(a)(1).




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        35.      Upon information and good-faith belief, and in light of the nature and

character of the text messages at issue—standardized, impersonal, and consistent in structure

and format—the advertisement and marketing text messages at issue were sent by using

“equipment which has the capacity—(1) to store numbers to be called or (2) to produce

numbers to be called, using a random or sequential number generator—and to dial such

numbers automatically (even if the system must be turned on or triggered by a person).”

Marks v. Crunch San Diego, LLC, 904 F.3d 1041, 1053 (9th Cir. 2018); see also Duran v. La

Boom Disco, Inc., No. 19-600-cv, at *18 (2d Cir. Apr. 7, 2020) (“The FCC’s interpretation of

the statute is consistent with our own, for only an interpretation that permits an ATDS to

store numbers—no matter how produced—will also allow for the ATDS to dial from non-

random, non-sequential "calling lists." As the FCC implied, it does not matter that the lists

are produced by human-generators rather than mechanical number-generators. What matters

is that the system can store those numbers and make calls using them.”).

        36.      Upon information and belief, no human directed any single text message to

Plaintiﬀ’s cellular telephone number.

        37.      In addition, upon information and belief the hardware and software

combination utilized by Defendant has the capacity to store and dial sequentially generated

numbers, randomly generated numbers, or numbers from a database of numbers.

        38.      Defendant did not have Plaintiﬀ’s prior express consent to place automated

text messages to Plaintiﬀ on his cellular telephones.

        39.      Receipt of Defendant’s unauthorized messages drained Plaintiﬀ’s phone

batteries and caused Plaintiﬀ additional electricity expenses and wear and tear on his phone

and battery.

        40.      Further, Defendant failed to maintain any do not call policies and procedures

and review the DNC registry prior to placing its repeated and unsolicited texts to Plaintiﬀ’s




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telephone number.

        41.      Defendant did not place the text message for an emergency purpose.

        42.      Through the aforementioned conduct, Defendant violated 47 U.S.C. §

227(b)(1)(A)(iii).

                                           STANDING

        43.      Standing is proper under Article III of the Constitution of the United States

of America because Plaintiﬀ’s claims state: (a) a valid injury in fact; (b) which is traceable to

the conduct of Defendant; and (c) is likely to be redressed by a favorable judicial decision.

See Spokeo, Inc. v. Robins, 136 S.Ct. 1540, 1547 (2016); Lujan v. Defenders of Wildlife, 504 U.S.

555, 560 (1992).

        The “Injury in Fact” Prong

        44.      Plaintiﬀ’s injury in fact must be both “concrete” and “particularized” in order

to satisfy the requirements of Article III of the Constitution, as articulated in Spokeo. Spokeo,

136 S.Ct. at 1547.

        45.      For an injury to be “concrete” it must be a de facto injury, meaning that it

actually exists. Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637, 638 (7th Cir. 2012) Van

Patten v. Vertical Fitness Grp., LLC, 847 F.3d 1037, 1043 (9th Cir. 2017) (holding

that TCPA violations cause “a concrete injury in fact suﬃcient to confer Article III standing”

because “[u]nsolicited telemarketing phone calls or text messages, by their nature, invade the

privacy and disturb the solitude of their recipients”).

        46.      In this case, Defendant sent unsolicited telemarketing text messages to

Plaintiﬀ’s cellular telephone, using an ATDS. Such unsolicited text messages are a nuisance

and constitute an invasion of privacy. These injuries are concrete and de facto.

        47.      For an injury to be “particularized” means that the injury must “aﬀect the

Plaintiﬀ in a personal and individual way.” Spokeo, 136 S.Ct. at 1543. In this case, Defendant




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invaded Plaintiﬀ’s privacy and peace by sending unwelcomed marketing text messages to

Plaintiﬀ’s cellular telephone, and did this with the use of an ATDS, despite Plaintiﬀ’s

registering his telephone number with the National Do Not Call Registry. Plaintiﬀ was

distracted and annoyed by having to take time to read the text messages. He was also

concerned that his personal information had been stolen as he never signed up for the texts.

All of these injuries are particularized and speciﬁc to Plaintiﬀ and will be the same injuries

suﬀered by each member of the putative class.

        The “Traceable to the Conduct of Defendant” Prong

        48.      The second prong required to establish standing at the pleadings phase is that

Plaintiﬀ must allege facts to show that its injuries are traceable to the conduct of Defendant.

        49.      The above text messages were directly and explicitly linked to Defendant

because they listed Defendant’s name and solicited Plaintiﬀ’s business with Defendant.

Therefore, Plaintiﬀ has illustrated facts that show that his injuries are traceable to the

conduct of Defendant.

        The “Injury is Likely to be Redressed by a Favorable Judicial Opinion” Prong.

        50.      The third prong to establish standing at the pleadings phase requires Plaintiﬀ

to allege facts to show that the injury is likely to be redressed by a favorable judicial opinion.

        51.      In the present case, Plaintiﬀ’s Prayers for Relief include a request for

damages for each text message made by Defendant, as authorized by statute in 47 U.S.C. §

227. The statutory damages were set by Congress and speciﬁcally redress the ﬁnancial

damages suﬀered by Plaintiﬀ and the members of the putative class.

        52.      Because all standing requirements of Article III of the U.S. Constitution

have been met, Plaintiﬀ has standing to sue Defendant on the stated claims.




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                              CLASS ACTION ALLEGATIONS

        53.      Plaintiﬀ brings this action under Federal Rule of Civil Procedure 23, and as

a representative of the following classes (collectively referred to as “Class”):

                 ATDS Class:

                 All persons throughout the United States (1) to whom
                 Defendant delivered, or caused to be delivered, a text message,
                 (2) directed to a number assigned to a cellular telephone
                 service, (3) by using an automatic telephone dialing system, (4)
                 within four years preceding the date of this complaint through
                 the date of class certiﬁcation.

                 DNC Class:

                 All persons within the United States who, within the four years
                 prior to the ﬁling of this Complaint, received more than one
                 text message to their cellular telephone numbers within any 12-
                 month period by or on behalf of the same entity, without their
                 prior express consent, while listed on the National Do Not Call
                 Registry.
        54.       Excluded from the class are Defendant, its oﬃcers and directors, members

of their immediate families and their legal representatives, heirs, successors, or assigns, and

any entity in which Defendant has or had a controlling interest.

        55.      Plaintiﬀ reserves the right to redeﬁne the class and to add subclasses as

appropriate based on discovery and speciﬁc theories of liability.
        56.      Numerosity: Upon information and belief, the members of the class are so

numerous that joinder of all of them is impracticable.

        57.      The exact number of the members of the class is unknown to Plaintiﬀ at this

time, and can (and will) be determined through appropriate discovery. However, given that,

on information and belief, Defendant delivered text messages to thousands of class members

nationwide during the class period, it is reasonable to presume that the members of the Class

are so numerous that joinder of all members is impracticable. The disposition of the claims

in a class action will provide substantial beneﬁts to the parties and the Court.




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        58.      Ascertainability: The members of the class are ascertainable because the class

is deﬁned by reference to objective criteria.

        59.      In addition, the members of the class are identiﬁable in that, upon

information and belief, their cellular telephone numbers, names and addresses can be

identiﬁed in business records maintained by Defendant and by third parties.

        60.      Typicality: Plaintiﬀ’s claims are typical of the claims of the members of the

class. Plaintiﬀ has had to suﬀer the burden of receiving text messages to his cellular telephone

from an ATDS. Thus, his injuries are typical to Class Members. As it did for all members

of the class, Defendant used an ATDS to deliver text messages to Plaintiﬀ’s cellular

telephone number.

        61.      Plaintiﬀ’s claims, and the claims of the members of the class, originate from

the same conduct, practice and procedure on the part of Defendant.

        62.      Plaintiﬀ’s claims are based on the same theories, as are the claims of the

members of the class.

        63.      Plaintiﬀ and Class Members were harmed by the acts of Defendant in at least

the following ways: Defendant harassed Plaintiﬀ and Class Members by illegally texting

their cellular phones using an ATDS. Plaintiﬀ and the Class were damaged thereby.

        64.      Adequacy: Plaintiﬀ is qualiﬁed to, and will fairly and adequately protect the

interests of the members of the class with whom he is similarly situated, as demonstrated

herein. Plaintiﬀ acknowledges that he has an obligation to make known to the Court any

relationships, conﬂicts, or diﬀerences with any Class Member.

        65.      Plaintiﬀ’s interests in this matter are not directly or irrevocably antagonistic

to the interests of the members of the class.

        66.      Plaintiﬀ will vigorously pursue the claims of the members of the class.




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        67.      Plaintiﬀ has retained counsel experienced and competent in class action

litigation. Plaintiﬀ’s attorneys, the proposed class counsel, are versed in the rules governing

class action discovery, certiﬁcation, and settlement. In addition, the proposed class counsel

is experienced in handling clams involving consumer actions and violations of the TCPA.

        68.      Plaintiﬀ’s counsel will vigorously pursue this matter.

        69.      Plaintiﬀ’s counsel will assert, protect and otherwise represent the members

of the class.

        70.      Plaintiﬀ has incurred, and throughout the duration of this action, will

continue to incur costs and attorneys’ fees that have been, are, and will be, necessarily

expended for the prosecution of this action for the substantial beneﬁt of each Class Member.

        71.      Predominance: The questions of law and fact common to the members of the

class predominate over questions that may aﬀect individual members of the class. The

elements of the legal claims brought by Plaintiﬀ and Class Members are capable of proof at

trial through evidence that is common to the Class rather than individual to its members.

        72.      Commonality: There are common questions of law and fact as to all members

of the Class, including but not limited to the following:

                a.    What is Defendant’s conduct, pattern, and practice as it pertains to

                      delivering advertisement and telemarketing text messages;

                b.    Whether Defendant sent text messages to telephone numbers listed on

                      the Do Not Call Registry.

                c.    Whether, within the statutory period, Defendant used an ATDS as

                      deﬁned by the TCPA to send text messages to Class Members;

                d.    Whether Defendant’s conduct violated the TCPA;

                e.    Whether Defendant should be enjoined from engaging in such conduct

                      in the future; and




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                f.    The availability of statutory penalties.

        73.      Superiority: A class action is superior to all other available methods for the

fair and eﬃcient adjudication of this matter because:

                 •   If brought and prosecuted individually, the claims of the members of the

                     class would require proof of the same material and substantive facts.

                 •   The pursuit of separate actions by individual members of the class would,

                     as a practical matter, be dispositive of the interests of other members of

                     the class, and could substantially impair or impede their ability to protect

                     their interests.

                 •   The pursuit of separate actions by individual members of the class could

                     create a risk of inconsistent or varying adjudications, which might

                     establish incompatible standards of conduct for Defendant.

                 •   These varying adjudications and incompatible standards of conduct, in

                     connection with presentation of the same essential facts, proof, and legal

                     theories, could also create and allow the existence of inconsistent and

                     incompatible rights within the class.

                 •   The damages suﬀered by each individual member of the class may be

                     relatively modest, thus, the expense and burden to litigate each of their

                     claims individually make it diﬃcult for the members of the class to

                     redress the wrongs done to them.

                 •   Absent a class action, most Class Members would likely ﬁnd the cost of

                     litigating their claims prohibitively high and would therefore have no

                     eﬀective remedy at law.

                 •   The pursuit of Plaintiﬀ’s claims, and the claims of the members of the

                     class, in one forum will achieve eﬃciency and promote judicial economy.




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                 •   There will be little diﬃculty in the management of this action as a class

                     action.

        74.      Defendant has acted or refused to act on grounds generally applicable to the

members of the class, making ﬁnal declaratory or injunctive relief appropriate.

        75.      Plaintiﬀ and the Class Members have all suﬀered and will continue to suﬀer

harm and damages as a result of Defendant’s unlawful conduct.

        76.      This suit seeks only damages and injunctive relief for recovery of economic

injury on behalf of Class Members and it expressly is not intended to request any recovery

for personal injury and claims related thereto.

                                 FIRST CAUSE OF ACTION

                       NEGLIGENT VIOLATIONS OF THE TCPA

                                      47 U.S.C. § 227 et seq.

        77.      Plaintiﬀ incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

        78.      The foregoing acts and omissions of Defendant constitute numerous and

multiple negligent violations of the TCPA, including but not limited to each and every one

of the above-cited provisions of 47 U.S.C. § 227 et seq.

        79.      As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq.,

Plaintiﬀ and the Class are entitled to an award of $500.00 in statutory damages, for each and

every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).

        80.      Plaintiﬀ and the Class are also entitled to and seek injunctive relief

prohibiting Defendant and/or its aﬃliates, agents, and/or other persons or entities acting on

Defendant’s behalf from violating the TCPA, 47 U.S.C. § 227, by placing calls, except for

emergency purposes, to any cellular telephone numbers using an ATDS in the future.




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          81.    Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii) and 47 C.F.R. §

64.1200(a)(2) by utilizing an ATDS to make advertising and marketing calls to Plaintiﬀ’s

cellular telephone numbers without prior express written consent.

          82.    As a result of Defendant’s violations of 47 U.S.C. § 227(b)(1)(A)(iii) and 47

C.F.R. § 64.1200(a)(2), Plaintiﬀ, and the members of the TCPA class, are entitled to

damages in an amount to be proven at trial.

                               SECOND CAUSE OF ACTION

            KNOWING AND/OR WILLFUL VIOLATIONS OF THE TCPA

                                      47 U.S.C. § 227 et seq.

          83.    Plaintiﬀ incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

          84.    The foregoing acts and omissions of Defendant constitute numerous and

multiple knowing and/or willful violations of the TCPA, including but not limited to each

and every one of the above-cited provisions of 47 U.S.C. § 227 et seq.

          85.    As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §

227 et seq., Plaintiﬀ and the Class are entitled to an award of $1,500.00 in statutory damages,

for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §

227(b)(3)(C).

          86.    Plaintiﬀ and the Class are also entitled to and seek injunctive relief

prohibiting such conduct in the future.

                                 THIRD CAUSE OF ACTION

                      47 U.S.C. § 227(c) (DO NOT CALL REGISTRY)

          87.    Plaintiﬀ re-alleges and incorporates the above paragraphs as if fully set forth

herein.




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        88.       Plaintiﬀ and members of the DNC Class received more than one marketing

text message within a 21-month period, by or on behalf of Defendant, for the express purpose

of marketing Defendant’s goods and/or services without their written prior express consent.

        89.       Defendant’s call caused Plaintiﬀ and members of the DNC Class actual

harms including, but not limited to, invasion of their personal privacy, aggravation, nuisance

and disruption in their daily lives, reduction in cellular telephone battery life, data, and loss

of use of their cellular telephones.

        90.       As a result of the aforementioned violations of the TCPA, Plaintiﬀ and the

DNC Class are entitled to an award of up to $1,500 for each call or text message in violation

of the TCPA pursuant to 47 U.S.C. § 227(c)(5).

        91.       Additionally, Plaintiﬀ and members of the DNC Class are entitled to and

seek injunctive relief prohibiting such future contact.

                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiﬀ prays for relief and judgment as follows:

              •   Determining that this action is a proper class action;

              •   Designating Plaintiff as a class representative under Federal Rule of

                  Civil Procedure 23;

              •   Designating Plaintiff’s counsel as class counsel under Federal Rule of

                  Civil Procedure 23;

              •   Adjudging and declaring that Defendant violated 47 U.S.C. §

                  227(b)(1)(A)(iii);

              •   Enjoining Defendant from continuing its violative behavior, including

                  continuing to deliver text messages to Plaintiff’s cellular telephone

                  number and to the cellular telephone numbers of the members of the

                  class, unless they have provided prior express written consent;




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              •   Awarding Plaintiff and each class member damages under 47 U.S.C. §

                  227(b)(3)(B) in the amount of $500 per unlawful text message;

              •   Awarding Plaintiff and the members of the class treble damages under

                  47 U.S.C. § 227(b)(3)(C);

              •   Awarding Plaintiff and the members of the class damages under 47

                  U.S.C. § 227(c)(5)(B);

              •   Awarding Plaintiff and the class reasonable attorneys’ fees, costs, and

                  expenses under Rule 23 of the Federal Rules of Civil Procedure;

              •   Awarding Plaintiff and the members of the class any pre-judgment and

                  post-judgment interest as may be allowed under the law; and

              •   Awarding such other and further relief as the Court may deem just and

                  proper.

                                 DEMAND FOR JURY TRIAL

                    Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiﬀ demands a

trial by jury of any and all triable issues.

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         Dated July 22, 2020.
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                                                 *Pro Hac Vice admission to be sought

                                                 Attorneys for Plaintiﬀ and the Proposed Classes




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